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                                      EXHIBIT E




DOCS_DE:238974.2 05233/003
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                                                                  SECOND AMENDED AND RESTATED
                                                                        PROMISSORY NOTE
                                                                            (Term Loan)

ART VAN:

Art Van Furniture, LLC
6500 E. 14 Mile Road
Warren, MI 48092

$376,432.83                                                                                                                               July 13,2017




         Promise To Pay. FOR VALUE RECEIVED, on or before February 28,2019 (the "Maturity
Date"), SIMPSON FURNITURE COMPANY, an Iowa Company, (the "Borrower"), promises to pay to
the order of ART VAN FURNITURE, LLC, a Delaware limited liability company (successor by
conversion to Art Van Furniture, Inc., a Michigan corporation) ("Alt Van"), the principal amount of
Three Hundred Seventy-Six Thousand Four Hundred Thirty-Two and 83/100 Dollars ($376,432.83) (the
"Borrowing"),    plus interest as provided herein, less such amounts as shall have been repaid in
accordance with this Second Amended and Restated Promissory Note (this "Note"). Interest shall be
calculated based on a 360-day year and charged for the actual number of days elapsed.

          This Note amends and restates in its                                              entirety that certain Amended and Restated Promissory Note
(Term Loan) dated February 28, 2017, made                                                   by the Borrower in favor of Art Van in the original principal
amount of Four Hundred Fifty Thousand                                                       and 00/100 Dollars ($450,000.00) (the "Existing Note");
provided, that this Note is given solely in                                                 substitution of the Existing Note and not in repayment or
satisfaction thereof.

        This Note is the Note referred to in that certain Security Agreement dated February 28, 2017, by
and between the Borrower and Art Van, as may be further amended, restated supplemented or otherwise
modified and in effect from time to time (the "Security Agreement").

                Interest Rate.                     The principal sum outstanding shall bear interest at a rate of six (6%) percent per
annum.

         Default Interest Rate.      On the Maturity Date or, if earlier, when an Event or Default (as
hereafter defined) occurs, the interest rate shall be lesser of ten (10%) percent per annum or the maximum
rate permitted by law. Any interest payment which would be deemed unlawful for any reason under
applicable law shall be applied to the outstanding principal balance of this Note.

         Payment of Principal and Interest.      Payments in United States federal funds immediately
available at the place designated for payment received by Art Van prior to 2:00 p.m. local time on a day
on which Art Van is open for business at said place of payment (a "Business Day") shall be credited prior
to close of business, while other payments, at the option of Art Van, may not be credited until
immediately available to Art Van in federal funds at the place designated for payment prior to 2:00 p.m.
local time on the next Business Day. Principal and Interest shall be payable in consecutive monthly
installments as follows:

                0)               Beginning on July 28, 2017 and continuing on the twenty-eighth (28'h) day of each and
                                 every calendar month thereafter (the "Payment Date"), through and including July 28,



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                              2018, Borrower shall pay to Art Van interest only on the principal balance (One
                              Thousand Eight Hundred Eighty-Two and 16/100 Dollars ($1,882.16»; and

              (ii)            From August 28, 2018 and on the 28tll day of each month thereafter until paid in full,
                              Borrower shall pay to Art Van the sum of Sixteen Thousand Six Hundred Eighty-Three
                              and 73/100 Dollars ($16,683.73).

Except as otherwise specifically provided for herein, on August 28, 2020 (the "Maturity Date"), the entire
outstanding principal balance hereof, together with all accrued but unpaid interest thereon, shall be due
and payable in full. In the event any Payment Date falls on a day which is not a Business Day, such
payment will be made on the first Business Day succeeding such scheduled due date.

         Late Charge. If any monthly installment of principal or interest is not paid within 15 days after
it is due, Borrower shall pay to Art Van a late charge in an amount equal to three percent (3%) of the
payment amount that was due as of the date the late charge is assessed. This is in addition to Art Van's
other rights and remedies for default in payment of an installment of principal or interest when due.

         Expenses and Fees. Borrower shall reimburse Art Van for all out-of-pocket expenses heretofore
or hereafter incurred by Art Van in connection with making the loan evidenced by this Note and in
connection with taking any security for the loan, including, without limitation, filing and recording fees,
reasonable attorneys' fees, expenses, and costs, including all costs, expenses and attorneys' fees incurred
by Art Van for collection of amounts due hereunder. Each reasonable out-of-pocket expense (if not
reimbursed to Art Van on or before the date of this Note) shall be reimbursed to Art Van at the time of the
first required payment under this Note after the expense is incurred.

              ADDITIONAL PROVISIONS:

         1.      Prepayments,    Borrower may prepay all or part of the principal of this Note at any time
without penalty. Any partial prepayment will be applied to the installment or installments last falling due
under this Note, and a partial prepayment shall not affect the amount or time of payment of succeeding
required installments.

              2.              Security.

                              (a)            TIns Note and all obligations of Borrower hereunder are secured by any and all
                                             security agreements, mortgages, guaranties, assignments and all other agreements
                                             and instruments heretofore or hereafter given by Borrower or any third party to
                                             Art Van given in connection with this Note (the "Security Documents").        As
                                             additional security for the payment of Borrower's obligations under this Note,
                                             Borrower grants to Art Van a security interest in all tangible and intangible
                                             property of Borrower now or hereafter in the possession of Art Van.

        3.       Default. The occurrence of any of the following events shall constitute, for purposes of
this Note, an event of default (each, an "Event of Default"):

                              (a)            Failure by Borrower to pay any amount owing under this Note within ten (10)
                                             days of the date when due, whether by maturity, acceleration or otherwise.

                              (b)            Any failure by Borrower to comply with any of the terms,                           provisions,
                                             representations, warranties or covenants of this Note.



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                           (c)             Any breach or failure by Borrower or any third party to comply with any of the
                                           terms, provisions, representations, warranties 01' covenants of any other Security
                                           Document which is not cured within any applicable cure period.

                           (d)             The insolvency of Borrower or any guarantor or the admission in writing of the
                                           Borrower's 01' the Guarantor's inability to pay debts as they mature.

                           (e)             If Borrower or any Guarantor is a natural person, the death or legal incompetence
                                           of Borrower Or any Guarantor.

                           (f)             Any statement, representation or information made or furnished by or 011 behalf
                                           of Borrower or any Guarantor to AI1 Van in connection with or to induce Art
                                           Vall to provide any of the indebtedness under this Note shall prove to be false in
                                           material respects or materially misleading when made or furnished.

                           (g)             Institution of bankruptcy, reorganization, insolvency or other similar proceedings
                                           by or against Borrower or any Guarantor, and if filed against Borrower or any
                                           Guarantor, not discharged within sixty (60) days of the institution thereof.

                           (h)             Any lien, attachment, garnishment, execution, levy or similar process shall at any
                                           time be placed upon any assets of Borrower or any Guarantor which is not
                                           discharged within thirty (30) of the placement thereof.

                           (i)             Any judgment or judgments for the payment of money shall be rendered against
                                           Borrower or any Guarantor, and any such judgment shall remain unsatisfied and
                                           in effect for more than thirty (30) days without a stay of execution.

                               G)          Sale or other disposition by Borrower of a substantial portion of assets 01'
                                           property, 01' the death, dissolution, merger, consolidation, termination of
                                           existence, insolvency, or assignment for the benefit of creditors of or by
                                           Borrower or any Guarantor.

                               (k)         The revocation or attempted revocation by any Guarantor of its guaranty of the
                                           indebtedness evidenced by this Note.

                               (I)         Default by Borrower of any agreement or obligation to AVF Franchising, LLC.

         Upon the occurrence of any Event of Default, all or any part of the indebtedness evidenced
hereby, and all or any part of all other indebtedness and obligations then owing by Borrower to Art Van
shall, at the option of Art Van, become immediately due and payable without notice or demand and Art
Van shall have all rights and remedies under the Security Documents.

        4.      Representations.                                Borrower represents and warrants to Art Van, as long as the Note
remains outstanding, as follows:

                               (a)         Organization     and Qualification.   If Borrower is an entity, then Borrower is
                                           duly organized, validly existing and in good standing under the laws of the State
                                           of its incorporation or organization, has the power and authority to carry 011 its
                                           business and to enter into and perform all documents relating to this loan
                                           transaction, and is qualified and licensed to do business in each jurisdiction in




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        which such qualification or licensing is required. All information provided to Art
        Van with respect to Borrower and its operations is true and correct.

  (b)   Authority.    The execution, delivery and performance of this Note and a\l
        documents executed in connection therewith by Borrower do not require the
        consent or approval of any other person, regulatory authority or governmental
        body; and do not conflict with, result in a violation of, or constitute a default
        under (i) any provision of any other agreement or instrument binding upon
        Borrower, or (ii) any law, governmental regulation, COUlt decree or order
        applicable to Borrower.

  (c)   Legal Effect. This Note, and any instrument or agreement required hereunder to
        be given by Borrower, when delivered, will constitute, legal, valid and binding
        obligations of Borrower enforceable against Borrower in accordance with their
        respective terms.

  (d)   No Litigation.    There are no pending or to Borrower's knowledge, threatened,
        suits or proceedings, before any co lilt, governmental agency, regulatory body, 01'
        administrative tribunal, to which such Borrower is a party 01' by which its
        property may be affected and which may result in any material change in the
        financial condition of Borrower.

  (e)   Financial Condition.     All financial information of Borrower delivered to Art
        Van and to A VF Franchising, LLC as of the date hereof is correct and complete
        in all material respects and accurately represents the financial condition of such
        Borrower on the dates thereof. There has been no material adverse change in the
        business, property or condition of the Borrower since the date of the most recent
        financial information delivered to Aft Van. Borrower has no material contingent
        obligations except as disclosed in such financial information.

  (D    Business. Borrower is not a party to or subject to any agreement or restriction
        that may have a material adverse effect on Borrower's business, properties or
        prospects.

  (g)   Licenses. Borrower has all licenses, permits, franchises, authorizations, patents,
        trademarks, copyrights and other rights necessary to advantageously conduct its
        business, all of which are in full force and effect and none of the foregoing are ill
        known conflict with the rights of others.

  (h)   Laws. Borrower is in material compliance with all laws, regulations, rulings,
        orders, iniunctions, decrees, conditions or other requirements applicable to or
        imposed upon Borrower by any law or by any governmental authority, court or
        agency.

  (i)   Taxes. Borrower shall timely file all required tax returns and reports that are
        required to be filed by it in connection with any federal, state and local tax, duty
        or charge levied, assessed or imposed upon Borrower 01' its assets, including
        unemployment, social security, and real estate taxes, and Borrower has paid all
        taxes which are now due and payable; no taxing authority has asserted or
        assessed any additional tax liabilities against Borrower which are outstanding on
        this date.


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                                  (j)          ERISA. Borrower is not and shall not become a contributing employer with
                                               respect to a multi-employer benefit plan within the meaning of Section 3(37)(A)
                                               of ERISA (29 U.S.c. 1002), as amended, by Section 302 of the Multi-Employer
                                               Pension Plan Amendments Act of 1980; or establish for any of its employees any
                                               employee benefit plan that has, or may in the future, incur any unfunded past
                                               service liability.

                                  (k)          Solvency.    Borrower is Solvent and upon consummation of the transactions
                                               contemplated herein will be Solvent. "Solvent" means that: (i) the total amount
                                               of Borrower's assets is in excess of the total amount of its liabilities (including
                                               contingent liabilities), at a fair valuation; (ii) Borrower does not have
                                               unreasonably small capital for the business and transactions in which Borrower is
                                               engaged or is about to engage; and (iii) Borrower does not intend to or believe it
                                               will incur obligations beyond its ability to pay as they become due.

        5.      Covenants.                                Borrower covenants and agrees with Art Van that, as long as the Note
remains outstanding:

                                  (a)          Insurance.     At its own cost, Borrower shall obtain and maintain insurance
                                               against (a) loss, destruction 01' damage to its properties and business of the kinds
                                               and in the amounts customarily insured against by corporations with established
                                               reputations engaged in the same or similar business as Borrower and, in any
                                               event, sufficient to fully protect Art Van's interest in the collateral securing this
                                               Note, and (b) insurance against public liability and third party property damage
                                               of the kinds and in the amounts customarily insured against by corporations with
                                               established reputations engaged in the same or similar business as Borrower. All
                                               such policies shall (i) be issued by financially sound and reputable insurers, (ii)
                                               name Art Van as an additional insured and, where applicable, as loss payee under
                                               a Art Van loss payable endorsement satisfactory to Art Van, and (iii) shall
                                               provide for thirty (30) days written notice to AI1 Van before such policy is altered
                                               or canceled. All of the insurance policies required hereby shall be evidenced by
                                               one or more Certificates of Insurance delivered to Art Van by Borrower at such
                                               times as Art Van may request from time to time.

                                  (b)          Litigation; Event of Default.         Borrower shall promptly inform Art Van in
                                               writing of (i) all material adverse changes in Borrower's financial condition; and
                                               (ii) all existing and all threatened litigation, claims, investigations, administrative
                                               proceedings or similar actions affecting Borrower or any assets pledged as
                                               collateral to secure payment of this Note that could materially affect the financial
                                               condition of Borrower; and (iii) the occurrence of any Event of Default or the
                                               occurrence of any event which might mature into such an Event of Default.

                                  (c)          Financial Records. Borrower shall maintain books and records in accordance
                                               with sound accounting principles consistently applied and permit Art Van to
                                               examine and audit Borrower's books and records at all reasonable times.

                                  (d)          Additional    Information.     Furnish such financial reports, information and
                                               statements, list of assets and liabilities, tax returns and other reports with respect
                                               to the Borrower's financial condition as Art Van may reasonably request from
                                               time to time.



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  (e)    Mcrgc]"; Disposition of Assets.      Borrower shall not (a) change its capital
         structure, (b) merge consolidate with any entity, (c) amend or change its entity
         documents (e.g., articles of organization, articles of incorporation, operating
         agreement, and bylaws), or (d) sell, lease, transfer or otherwise dispose of, or
         grant any person an option to acquire, or sell and leaseback, all or any substantial
         portion of its assets, whether now owned or hereafter acquired, except for bona
         tide sales of inventory in the ordinary course of business and dispositions of
         property which is obsolete and not used or useful in its business.

  (f)    Name Change. Borrower shall not change its name, fiscal year, or method of
         accounting (except as required by sound accounting principles consistently
         applied), and except that Borrower may change its name so long as Borrower has
         given Art Van 60 days' prior written notice and taken such action as Art Van
         deems necessary to continue the perfection of Art Van's security interests and/or
         liens.

  (g)    Extensions of Credit. Borrower will no! make loans, advances or extensions of
         credit to any other entity.

  (/1)   Change of Control.       There shall be no direct or indirect change in the
         composition or control or ownership of Borrower or any of its members without
         Art Van's prior written consent.

  (i)    Existence. Borrower shall maintain the entity existence in good standing in the
         State of their incorporation, including any licenses which may be necessary in
         order for Borrower to conduct business operations.

  U)     Distributions.  After the occurrence of any Event of Default, Borrower shall not
         make dividends or distributions with respect to (whether by reduction of capital
         or otherwise) any shares of its stock or membership interests (as the case may be)
         without the prior written consent of Art Van. Borrower will not purchase,
         redeem, retire or otherwise acquire any of their stock or membership interests (as
         the case may be), or make any commitment to do so without the prior written
         consent of Art Van.

  (k)    Indebtedness.    Borrower shall not borrow money or act as guarantor of any loan
         or other obligation or make loans, advances or extensions of credit to any other
         person or entity without Art Van's prior written consent.

  (I)    Advances.     Borrower shall not make any intercompany advances or any
         advances or loans to any of its employees, officers, or directors without the prior
         written consent of Art Van.

  (rn)   Liens. Borrower shall not permit any lien to exist on its assets for a period in
         excess of thirty (30) days after written notice by Art Van without bonding or
         indemnification satisfactory to Art Van with respect to any such lien.

  (n)    Subordinatlon.      All indebtedness owed by Borrower to any of the officers,
         directors, shareholders, employees, members, managers or partners of Borrower
         shall be fully subordinated to the loan under this Note.



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                (0)     Payment of Taxes. Borrower shall pay, prior to imposition of a penalty or late
                        charge for nonpayment, all taxes, assessments and other governmental charges
                        imposed upon its properties or its other assets, franchises, business, income or
                        profits before any penalty or interest accrues thereon, and all claims (including,
                        without limitation, claims for labor, services, materials and supplies) for sums
                        which by law might be a lien or charge upon any of its assets, provided that
                        (unless any material item or property would be lost, forfeited or materially
                        damaged as a result thereof) no such charge or claim need be paid if it is being
                        diligently contested in good faith, if Art Van is notified in advance of such
                        contest and if Borrower establishes an adequate reserve or other appropriate
                        provision required by generally accepted accounting principles and deposits with
                        Art Van cash or bond in an amount acceptable to Art Van.

                (p)     COlllpliflllce. Borrower shall comply with all federal, state and local laws,
                        regulations and orders applicable to Borrower or its assets including but not
                        limited to all environmental laws, in all respects material to Borrower's business,
                        assets or prospects and shall immediately notify Art Van of any violation of any
                        rule, regulations, statute, ordinance, order or Jaw relating to the public health or
                        the environment and of any complaint or notifications received by Borrower
                        regarding to any environmental or safety and health rule, regulation, statute,
                        ordinance or law. Borrower shall obtain and maintain any and all licenses,
                        permits, franchises, governmental authorizations, patents, trademarks, copyrights
                        or other rights necessary for the ownership of its properties and the advantageous
                        conduct of its business and as may be required from time to time by applicable
                        law.

                (q)     Failure to Pay Taxes.         If Borrower fails to pay any tax, assessment,
                        governmental charge or levy or to maintain insurance within the time permitted
                        or required by this Note or any other Security Document, or to discharge any lien
                        prohibited hereby, or to comply with any other obligations hereunder, Art Van
                        may, but shall not be obligated to, pay, satisfy, discharge or bond the same for
                        the account of Borrower, and to the extent permitted by law and at the option of
                        Art Van, all monies so paid by Art Van on behalf of Borrower shall be deemed
                        obligations hereunder.

                (r)     Further Assurances.       Borrower shall execute, acknowledge and deliver, or
                        cause to be executed, acknowledged or delivered, any and all such further
                        assurances and other agreements or instruments, and take or cause to be taken all
                        such other action, as shall be reasonably necessary from time to time to give full
                        effect to this Note and Security Documents and the transactions contemplated
                        thereby.

         6.     Place and Application of Payments. Each payment upon this Note shall be made at any
of Art Van's offices or such other place as the holder hereof may direct in writing. Any payment upon
this Note shall be applied first to any accrued and unpaid interest, then to the unpaid principal balance,
then to any expenses or loan processing fee then due and payable to Art Van and then to any unpaid late
charges, except that after the Maturity Date of this Note or after the occurrence of an Event of Default,
Art Van may apply any payment or collection to any such amounts owing under this Note in such manner
as Art Van shall determine in its sole discretion. The manner of application of any such payment, as
between or among such indebtedness and obligations, shall be determined by Art Van in its sole
discretion.


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         7.       Maximum Interest Rate. Notwithstanding any other provision of this Note, Art Van
shall never be entitled to charge, take or receive as interest on this Note any amount in excess of the
highest rate to which Borrower may lawfully agree ill writing ("Maximum Rate"). If Art Van ever
receives interest in excess of the Maximum Rate, the excess shall be considered a partial prepayment of
the principal of this Note or, if the principal has been paid in full, shall be refunded to Borrower.

         8.      Remedies. Art Van shall have all rights and remedies provided by law and by agreement
of Borrower. The remedies of Art Van are cumulative and not exclusive. Any requirement of reasonable
notice with respect to any sale or other disposition of collateral shall be met if Art Van sends the notice at
least five (5) days before the date of sale or other disposition. Borrower agrees to pay any and all
reasonable expenses, including reasonable attorneys' fees and legal expenses, paid or incurred by Art Van
in protecting and enforcing the rights of and obligations to Art Van under any provision of this Note.

         9.       Waivers. No delay by Art Van in the exercise of any right or remedy shall operate as a
waiver thereof. No single or partial exercise by Art Van of any right or remedy shall preclude any other
or future exercise thereof or the exercise of any other right or remedy. No waiver by Art Van of any
default or of any provision hereof shall be effective unless in writing and signed by Art Van. No waiver
of any right or remedy on one occasion shall be a waiver of that right or remedy on any future occasion.
Borrower waives demand for payment, presentment, notice of dishonor and protest of this Note and
consents 10 any extension or postponement of time of its payment, to any substitution, exchange or
release of all or any part of any security given to secure this Note, to the addition of any party hereto, and
to the release, discharge, waiver, modification, or suspension of any rights and remedies against any
person who may be liable for the indebtedness evidenced by this Note.

         10.     Notice. All notices, demands and requests required or permitted to be given to Borrower
or Art Van hereunder or by law shall be in writing and shall be deemed delivered upon either: (I)
personal delivery thereof; or (2) one day after mailing by nationally recognized overnight carrier; or (3)
two days after mailing by certified mail, return receipt requested by United States mail, postage prepaid to
the respective addresses set forth below:

                I[to Borrower:

                         Dale Emmert
                         3019 Neola Street
                         Cedar Falls, Iowa 50613

                If to Art Van:

                         General Counsel and Vice President of Legal Affairs
                         6500 E. 14 Mile Road
                         Warren, MI 49092

         11.      Applicable Law and Jurisdlctiou.     This Note shall be governed by and interpreted
according to the laws of the State of Michigan, without giving effect to principles of conflict of laws.
Borrower irrevocably agrees and consents that any action against Borrower for collection or enforcement
of this Note may be brought in any state or federal court within the State of Michigan that has subject
matter jurisdiction and where venue is in compliance with Michigan law.

         12.      Partial Invalidity. The invalidity or unenforceability of any provision of this Note shall
not affect the validity or enforceability of the remaining provisions of this Note.



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      13.   Waiver of Jury T.-ial. BORROWER AND ART VAN ACKNOWLEDGE THAT THE
RIGHT TO TRIAL BY JURY IS A CONSTITUTIONAL ONE, BUT THAT IT MAY BE WAIVED.
EACH PARTY, AFTER CONSULTING (OR HAVING HAD THE OPPORTUNITY TO CONSULT)
WITH COUNSEL OF THEIR CHOICE, KNOWINGLY AND VOLUNTARlL Y, AND FOR THEIR
MUTUAL BENEFIT, WAIVES ANY RIGHT TO TRIAL BY JURY IN THE EVENT OF LITIGATION
REGARDING THE PERFORMANCE OR ENFORCEMENT OF, OR IN ANY WAY RELATED TO
THIS NOTE, THE LOAN DOCUMENTS EXECUTED IN CONNECTION HEREWITH OR THE
INDEBTEDNESS.

         14.     Entire Agreement.      Borrower acknowledges and confirms that this Note and the
documents referred to herein constitute the entire agreement between Borrower and Art Van, and that
there are no conditions or understanding between the parties that are not expressed therein.

         15.    Severability.  The declaration of invalidity or unenforceability of any provision of this
Note or the documents referred to herein shall not affect the validity or enforceability of the remaining
provisions of any ofthe foregoing.

         16.     Joint and Several Liability. If Borrower is more than one person, firm or corporation,
(a) each of them is primarily liable on this Note, (b) receipt of value by anyone of them constitutes
receipt of value by both or all of them, (c) their liability on this Note is joint and several, and (d) the term
"Borrower" means each of them and all of them.

          17.     Release of Claims against Art Van. In consideration of Art Van's agreeing to the terms
of this Note, Borrower waives, releases and affirmatively agrees not to allege or otherwise pursue any and
all defenses, affirmative defenses, counterclaims, claims, causes of action, setoffs or other rights that it
may have, or claim to have for any and all claims, harm, injury and damage of any and every kind, known
or unknown, legal or equitable, which Borrower has, or may claim to have, against Art Van, its directors,
officers, employees, attorneys, affiliates and agents from the date of the Borrower's first contact with Art
Van up to the date of this Note.

       This Second Amended and Restated Promissory Note (Term Loan) is executed as of the date first
above written.




                                                                                             BY:--H+~~~~---H~~---
                                                                                             Name:
                                                                                             Its: Pre




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                                                                         AMENDED AND REST A TED
                                                                            PROMISSORY NOTE
                                                                                (Term Loan)

 ART VAN:

 Art Van Furniture, Inc.
 6500 E. 14 Mile Road
 Warren, MI 48092

 $450,000.00                                                                                                              February 28,2017




         Promise To Pay. FOR VALUE RECEIVED, on or before February 28, 2019 (the "Maturity
Date"), SIMPSON FURNITURE COMPANY, an Iowa Company, (the "Borrower"), promises to pay to
the order of ART VAN FURNITURE, INC., a Michigan corporation ("Art Van"), the principal amount
of Four Hundred Fifty Thousand and 0011 00 Dollars ($450,000.00) (the "Borrowing"), plus interest as
provided herein, less such amounts as shall have been repaid in accordance with this Amended and
Restated Promissory Note (this "Note"). Interest shall be calculated based on a 360-day year and charged
for the actual number of days elapsed.

          This Note amends and restates in its entirety that certain Promissory Note (Term Loan) dated
August 16,2016, made by the Borrower in favor of Art Van in the original principal amount of Nine
Hundred Sixty Thousand Two Hundred Fifteen and 9111 00 Dollars ($960,215.91) (the "Existing Note");
provided, that this Note is given solely in substitution of the Existing Note and not in repayment or
satisfaction thereof.   The Borrower hereby acknowledges and agrees that simultaneously with the
Borrower's execution and delivery of this Note to Art Van, Art Van has agreed to deliver, and has in fact
delivered, to the Borrower the Existing Note, marked "Cancelled".

        This Note is the Note referred to in that certain Security Agreement dated February 28, 2017, by
and between the Borrower and Art Van, as may be further amended, restated supplemented or otherwise
modified and in effect from time to time (the "Security Agreement"),

                 Interest Rate. The principal sum outstanding shall bear interest at a rate of five (5%) percent per
annum.

         Default Interest Rate. On the Maturity Date or, if earlier, when an Event of Default (as
hereafter defined) occurs, the interest rate shall be lesser of ten (10%) percent per annum or the maximum
rate permitted by law. Any interest payment which would be deemed unlawful for any reason under
applicable law shall be applied to the outstanding principal balance of this Note.

         Payment of Principal and Interest. Payments in federal funds immediately available at the
place designated for payment received by Art Van prior to 2:00 p.m. local time on a day on which Art
Van is open for business at said place of payment (a "Business Day") shall be credited prior to close of
business, while other payments, at the option of Art Van, may not be credited until immediately available
to Art Van in federal funds at the place designated for payment prior to 2:00 p.m. local time on the next
Business Day. Principal and Interest shall be payable in twenty-four (24) consecutive monthly
installments in the amount of Nineteen Thousand Seven Hundred Forty-Two and 13/ I00 Dollars
($19,742.13), beginning on March 28, 2017 (the "First Payment Date"), and continuing on the twenty-
eighth (28th) day of each and every calendar month thereafter through and including February 28, 2019


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  (each, a "Payment Date"). Except as otherwise specifically provided for herein, on February 28, 2019 (the
  "Maturity Date"), the entire outstanding principal balance hereof, together with all accrued but unpaid
  interest thereon, shall be due and payable in full. In the event any Payment Date falls on a day which is
  not a Business Day, such payment will be made on the first Business Day succeeding such scheduled due
  date.

           Late Charge. If any monthly installment of principal or interest is not paid within 15 days after
  it is due, Borrower shall pay to Art Van a late charge in an amount equal to three percent (3%) of the
  payment amount that was due as of the date the late charge is assessed. This is in addition to An Van's
  other rights and remedies for default in payment of an installment of principal or interest when due.

                     Expenses and Fees. Borrower shall reimburse Art Van for all out-of-pocket expenses heretofore
 or hereafter incurred by Art Van in connection with making the loan evidenced by this Note and in
 connection with taking any security for the loan, including, without limitation. filing and recording fees,
 reasonable attorneys' fees and expenses, and costs. Each reasonable out-of-pocket expense (if not
 reimbursed to Art Van on or before the date of this Note) shall be reimbursed to An Van at the time of the
 first required payment under this Note after the expense is incurred.

                     ADDITIONAL PROVISIONS:

          1.      Prepayments. Borrower may prepay all or part of the principal of this Note at any time
 without penalty. Any partial prepayment will be applied to the installment or installments last falling due
 under this Note, and a partial prepayment shall not affect the amount or time of payment of succeeding
 required installments.

                    2.               Security.

                                     (a)             This Note and all obligations of Borrower hereunder are secured by any and all
                                                     security agreements, mortgages, guaranties, assignments and all other agreements
                                                     and instruments heretofore or hereafter given by Borrower or any third party to
                                                     Art Van given in connection with this Note (the "Security Documents").        As
                                                     additional security for the payment of Borrower's obligations under this Note,
                                                     Borrower grants to Art Van a security interest in all tangible and intangible
                                                     property of Borrower now or hereafter in the possession of Art Van.

         3.      Default. The occurrence of any of the following events shall constitute, for purposes of
this Note, an event of default (each, an "Event of Default"):

                                     (a)            Failure by Borrower to pay any amount owing under this Note within ten (10)
                                                    days of the date when due, whether by maturity, acceleration or otherwise.

                                     (b)            Any failure by Borrower to comply with any of the terms,                               provisions,
                                                    representations, warranties or covenants of this Note.

                                     (c)            Any breach or failure by Borrower or any third party to comply with any of the
                                                    terms, provisions, representations, warranties or covenants of any other Security
                                                    Document which is not cured within any applicable cure period.

                                     (d)            The insolvency of Borrower or any guarantor or the admission in writing of the
                                                    Borrower's or the Guarantor's inability to pay debts as they mature.



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                                   (e)              If Borrower or any Guarantor is a natural person, the death or legal incompetence
                                                    of Borrower or any Guarantor.

                                   (f)             Any statement, representation or information made or furnished by or on behalf
                                                   of Borrower or any Guarantor to Art Van in connection with or to induce Art
                                                   Van to provide any of the indebtedness under this Note shall prove to be false in
                                                   material respects or materially misleading when made or furnished.

                                   (g)             Institution of bankruptcy, reorganization, insolvency or other similar proceedings
                                                   by or against Borrower or any Guarantor, and if filed against Borrower or any
                                                   Guarantor, not discharged within sixty (60) days of the institution thereof.

                                  (h)              Any lien, attachment, garnishment, execution, levy or similar process shall at any
                                                   time be placed upon any assets of Borrower or any Guarantor which is not
                                                   discharged within thirty (30) of the placement thereof.

                                  (i)              Any judgment or judgments for the payment of money shall be rendered against
                                                   Borrower or any Guarantor, and any such judgment shall remain unsatisfied and
                                                   in effect for more than thirty (30) days without a stay of execution.

                                  U>              Sale or other disposition by Borrower of a substantial portion of assets or
                                                  property, or the death. dissolution, merger. consolidation. termination of
                                                  existence, insolvency, or assignment for the benefit of creditors of or by
                                                  Borrower or any Guarantor.

                                  (k)             The revocation or attempted revocation by any Guarantor of its guaranty of the
                                                  indebtedness evidenced by this Note.

                                  (I)             Default by Borrower of any agreement or obligation to A VF Franchising, LLC.

          Upon the OCCUITenceof any Event of Default, all or any part of the indebtedness evidenced
hereby, and all or any part of all other indebtedness and obligations then owing by Borrower to Art Van
shall, at the option of Art Van, become immediately due and payable without notice or demand and Art
Van shall have all rights and remedies under the Security Documents.

                 4.               Representations.                        Borrower represents and warrants to Art Van, as long as the Note
remains outstanding, as follows:

                                  (a)            Organization and Qualification. If Borrower is an entity, then Borrower is
                                                 duly organized, validly existing and in good standing under the laws of the State
                                                 of its incorporation or organization, has the power and authority to carryon its
                                                 business and to enter into and perform all documents relating to this loan
                                                 transaction, and is qualified and licensed to do business in each jurisdiction in
                                                 which such qualification or licensing is required. All information provided to Art
                                                 Van with respect to Borrower and its operations is true and correct.

                                  (b)            Authority.   The execution, delivery and performance of this Note and all
                                                 documents executed in connection therewith by Borrower do not require the
                                                 consent or approval of any other person. regulatory authority or governmental
                                                 body; and do not contlict with, result in a violation of or constitute a default
                                                 under (i) any provision of any other agreement or instrument binding upon

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                                                   Borrower, or (ii) any law, governmental                        regulation,   COUlt   decree or order
                                                   applicable to Borrower.

                                     (c)           Legal Effect. This Note, and any instrument or agreement required hereunder to
                                                   be given by Borrower, when delivered, will constitute, legal, valid and binding
                                                   obligations of Borrower enforceable against Borrower in accordance with their
                                                   respective terms.

                                    (d)            No Litigation.    There are no pending or to Borrower's knowledge, threatened,
                                                   suits or proceedings, before any court, governmental agency, regulatory body, or
                                                   administrative tribunal, to which such Borrower is a party or by which its
                                                   property may be affected and which may result in any material change in the
                                                   financial condition of Borrower.
                                    (e)           Financial Condition.     All financial information of Borrower delivered to Art
                                                  Van and to AVF Franchising, LLC as of the date hereof is correct and complete
                                                  in all material respects and accurately represents the financial condition of such
                                                  Borrower on the dates thereof. There has been no material adverse change in the
                                                  business, property or condition of the Borrower since the date of the most recent
                                                  financial information delivered to Art Van. Borrower has no material contingent
                                                  obligations except as disclosed in such financial information.

                                    (f)           Business. Borrower is not a party to 01' subject to any agreement 01' restriction
                                                  that may have a material adverse effect on Borrower's business, properties or
                                                  prospects.

                                    (g)           Licenses. Borrower has all licenses, permits, franchises, authorizations, patents,
                                                  trademarks, copyrights and other rights necessary to advantageously conduct its
                                                  business, all of which are in full force and effect and none of the foregoing are in
                                                  known contlict with the rights of others.

                                    (h)           Laws. Borrower is in material compliance with all laws, regulations, rulings,
                                                  orders, injunctions, decrees, conditions or other requirements applicable to or
                                                  imposed upon Borrower by any law or by any governmental authority, cOUli or
                                                  agency.

                                    (i)          Taxes. Borrower shall timely file all required tax returns and reports that are
                                                 required to be tiled by it in connection with any federal, state and local tax, duty
                                                 or charge levied, assessed or imposed upon Borrower or its assets, including
                                                 unemployment, social security, and real estate taxes, and Borrower has paid all
                                                 taxes which are now due and payable; no taxing authority has asserted or
                                                 assessed any additional tax liabilities against Borrower which are outstanding on
                                                 this date.

                                    U>           ERISA. Borrower is not and shall not become a contributing employer with
                                                 respect to a multi-employer benefit plan within the meaning of Section 3(37)(A)
                                                 of ERISA (29 U .S.C. 1002), as amended, by Section 301 of the Multi-Employer
                                                 Pension Plan Amendments Act of 1980; or establish for any of its employees any
                                                 employee benefit plan that has, 01' may in the future, incur any unfunded past
                                                 service liability.



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                                    (k)            Solvency. Borrower is Solvent and upon consummation of the transactions
                                                   contemplated herein will be Solvent. "Solvent" means that: (i) the total amount
                                                   of Borrower's assets is in excess of the total amount of its liabilities (including
                                                   contingent liabilities), at a fair valuation: (ii) Borrower does not have
                                                   unreasonably small capital for the business and transactions in which Borrower is
                                                   engaged or is about to engage: and (iii) Borrower does not intend to or believe it
                                                   will incur obligations beyond its ability to pay as they become due.

         5.      Covenants.                                     Borrower covenants and agrees with Art Van that, as long as the Note
 remains outstanding:

                                    (a)            Insurance.               At its own cost, Borrower shall obtain and maintain insurance
                                                   against (a) loss, destruction or damage to its properties and business of the kinds
                                                   and in the amounts customarily insured against by corporations with established
                                                   reputations engaged in the same or similar business as Borrower and, in any
                                                   event, sufficient to fully protect Art Van's interest in the collateral securing this
                                                   Note, and (b) insurance against public liability and third party property damage
                                                   of the kinds and in the amounts customarily insured against by corporations with
                                                   established reputations engaged in the same or similar business as Borrower. All
                                                   such policies shall (i) be issued by financially sound and reputable insurers, (ii)
                                                   name Art Van as an additional insured and, where applicable, as loss payee under
                                                   a Art Van loss payable endorsement satisfactory to Art Van, and (iii) shall
                                                   provide for thirty (30) days written notice to Art Van before such policy is altered
                                                   or canceled. All of the insurance policies required hereby shall be evidenced by
                                                   one or more Certificates of Insurance delivered to Art Van by Borrower at such
                                                   times as Art Van may request from time to time.

                                    (b)           Litigation; Event of Default. Borrower shall promptly inform Art Van in
                                                  writing of (i) all material adverse changes in Borrower's financial condition; and
                                                  (ii) all existing and all threatened litigation, claims, investigations, administrative
                                                  proceedings or similar actions affecting Borrower or any assets pledged as
                                                  collateral to secure payment of this Note that could materially affect the financial
                                                  condition of Borrower; and (iii) the occurrence of any Event of Default or the
                                                  occurrence of any event which might mature into such an Event of Default.

                                    (c)           Financial Records. Borrower shall maintain books and records in accordance
                                                  with sound accounting principles consistently applied and permit Art Van to
                                                  examine and audit Borrower's books and records at all reasonable times.

                                    (d)           Additional Information.         Furnish such financial reports, information and
                                                  statements, list of assets and liabilities, tax returns and other reports with respect
                                                  to the Borrower's financial condition as Art Van may reasonably request from
                                                  time to time.

                                    (e)           Merger; Disposition of Assets. Borrower shall not (a) change its capital
                                                  structure, (b) merge consolidate with any entity, (c) amend or change its entity
                                                  documents (e.g., articles of organization, articles of incorporation, operating
                                                  agreement, and bylaws), or (d) sell, lease, transfer or otherwise dispose of, or
                                                  grant any person an option to acquire, or sell and leaseback, all or any substantial
                                                  portion of its assets, whether now owned or hereafter acquired, except for bona



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                                                 fide sales of inventory in the ordinary course of business and dispositions of
                                                 property which is obsolete and not used or useful in its business.

                                 (f)             Name Change. Borrower shall not change its name, fiscal year, or method of
                                                 accounting (except as required by sound accounting principles consistently
                                                 applied), and except that Borrower may change its name so long as Borrower has
                                                 given An Van 60 days' prior written notice and taken such action as Art Van
                                                 deems necessary to continue the perfection of AI1 Van's security interests and/or
                                                 liens.

                                 (g)             Extensions of Credit. Borrower will not make loans, advances or extensions of
                                                 credit to any other entity.

                                 (h)             Change of Control.        There shall be no direct or indirect change in the
                                                 composition or control or ownership of Borrower or any of its members without
                                                 AI1 Van's prior written consent.

                                 (i)            Existence. Borrower shall maintain the entity existence in good standing in the
                                                State of their incorporation, including any licenses which may be necessary in
                                                order for Borrower to conduct business operations.

                                 (j)            Distributions. After the OCCUITenceof any Event of Default, Borrower shall not
                                                make dividends or distributions with respect to (whether by reduction of capital
                                                or otherwise) any shares of its stock or membership interests (as the case may be)
                                                without the prior written consent of Art Van. Borrower will not purchase,
                                                redeem, retire or otherwise acquire any of their stock or membership interests (as
                                                the case may be), or make any commitment to do so without the prior written
                                                consent of Art Van.

                                 (k)            Indebtedness. Borrower shall not borrow money or act as guarantor of any loan
                                                or other obligation or make loans, advances or extensions of credit to any other
                                                person or entity without Art Van' s prior written consent.

                                 (I)            Advances.     Borrower shall not make any intercompany advances or any
                                                advances or loans to any of its employees, officers, or directors without the prior
                                                written consent of Art Van.

                                 (m)            Liens. Borrower shall not permit any lien to exist on its assets for a period in
                                                excess of thirty (30) days after written notice by Art Van without bonding or
                                                indemnification satisfactory to Art Van with respect to any such lien.

                                 (n)           Subordination.      All indebtedness owed by Borrower to any of the officers,
                                               directors, shareholders, employees, members, managers or partners of Borrower
                                               shall be fully subordinated to the loan under this Note.

                                 (0)           Payment of Taxes. Borrower shall pay, prior to imposition of a penalty or late
                                               charge for nonpayment, all taxes. assessments and other governmental charges
                                               imposed upon its properties or its other assets, franchises, business, income or
                                               profits before any penalty or interest accrues thereon, and all claims (including,
                                               without limitation, claims for labor, services, materials and supplies) for sums
                                               which by law might be a lien or charge upon any of its assets. provided that


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                                               (unless any material item or property would be lost forfeited or materially
                                               damaged as a result thereof) no such charge or claim need be paid if it is being
                                               diligently contested in good faith. if Art Van is notified in advance of such
                                               contest and if Borrower establishes an adequate reserve or other appropriate
                                               provision required by generally accepted accounting principles and deposits with
                                               Art Van cash or bond in an amount acceptable to Art Van.

                                (p)           Compliance.       Borrower shall comply with all federal. state and local laws.
                                              regulations and orders applicable to Borrower or its assets including but not
                                              limited to all environmental laws, in all respects material to Borrower's business,
                                              assets or prospects and shall immediately notify Art Van of any violation of any
                                              rule, regulations, statute, ordinance. order or law relating to the public health or
                                              the environment and of any complaint or notifications received by Borrower
                                              regarding to any environmental or safety and health rule, regulation, statute.
                                              ordinance or law. Borrower shall obtain and maintain any and all licenses,
                                              permits, franchises, governmental authorizations, patents, trademarks, copyrights
                                              or other rights necessary for the ownership of its properties and the advantageous
                                              conduct of its business and as may be required from time to time by appl icable
                                              law.

                               (q)           Failure to Pay Taxes.         If Borrower fails to pay any tax. assessment,
                                             governmental charge or levy or to maintain insurance within the time permitted
                                             or required by this Note or any other Security Document, or to discharge any lien
                                             prohibited hereby, or to comply with any other obligations hereunder, Art Van
                                             may, but shall not be obligated to, pay, satisfy, discharge or bond the same for
                                             the account of Borrower, and to the extent permitted by law and at the option of
                                             Art Van, all monies so paid by Art Van on behalf of Borrower shall be deemed
                                             obligations hereunder.

                              (r)            Further Assurances.       Borrower shall execute, acknowledge and deliver, or
                                             cause to be executed, acknowledged or delivered. any and all such further
                                             assurances and other agreements or instruments, and take or cause to be taken all
                                             such other action, as shall be reasonably necessary from time to time to give full
                                             effect to this Note and Security Documents and the transactions contemplated
                                             thereby.

          6.     Place and Application of Payments. Each payment upon this Note shall be made at any
of Art Van's offices or such other place as the holder hereof may direct in writing. Any payment upon
this Note shall be applied first to any accrued and unpaid interest, then to the unpaid principal balance,
then to any expenses or loan processing fee then due and payable to Art Van and then to any unpaid late
charges, except that after the Maturity Date of this Note or after the occurrence of an Event of Default,
Art Van may apply any payment or collection to any such amounts owing under this Note in such manner
as Art Van shall determine in its sole discretion. The manner of application of any such payment, as
between or among such indebtedness and obligations, shall be determined by Art Van in its sale
discretion.

         7.       Maximum Interest Rate. Notwithstanding any other provision of this Note, Art Van
shall never be entitled to charge, take or receive as interest on this Note any amount in excess of the
highest rate to which Borrower may lawfully agree in writing ("Maximum Rate"). If Art Van ever
receives interest in excess of the Maximum Rate. the excess shall be considered a partia! prepayment of
the principal of this Note or, if the principal has been paid in full, shall be refunded to Borrower.


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          8.      Remedies. Art Van shall have all rights and remedies provided by law and by agreement
 of Borrower. The remedies of Art Van are cumulative and not exclusive. Any requirement of reasonable
 notice with respect to any sale or other disposition of collateral shall be met if AI1 Van sends the notice at
 least five (5) days before the date of sale or other disposition. Borrower agrees to pay any and all
 reasonable expenses, including reasonable attorneys' fees and legal expenses. paid or incurred by AI1 Van
 in protecting and enforcing the rights of and obligations to Art Van under any provision of this Note.

          9.      Waivers.                              No delay by AI1 Van in the exercise of any right or remedy shall operate as a
 waiver thereof. No single                              or partial exercise by Art Van of any right or remedy shall preclude any other
 or future exercise thereof                             or the exercise of any other right or remedy. No waiver by Art Van of any
 default or of any provision                             hereof shall be effective unless in writing and signed by AI1 Van. No waiver
 of any right or remedy on one occasion shall be a waiver of that right or remedy on any future occasion.
Borrower waives demand for payment. presentment. notice of dishonor and protest of this Note and
consents to any extension or postponement of time of its payment, to any substitution. exchange or
release of all or any part of any security given to secure this Note. to the addition of any party hereto, and
to the release, discharge. waiver, modification, or suspension of any rights and remedies against any
person who may be liable for the indebtedness evidenced by this Note.

          10.     Notice. All notices, demands and requests required or permitted to be given to Borrower
or Art Van hereunder or by law shall be in writing and shall be deemed delivered upon either: (I)
personal delivery thereof; or (2) one day after mailing by nationally recognized overnight carrier; or (3)
two days after mailing by certified mail, return receipt requested by United States mail, postage pre-paid
to the respective addresses set forth below:

                                    Ifto Borrower:

                                                  Dale Emmert
                                                  3019 Neola Street
                                                  Cedar Falls. Iowa 50613

                                    If to AI1 Van:

                                                  General Counsel and Vice President of Legal Affairs
                                                  6500 E. 14 Mile Road
                                                  Warren, MI 49092

         I 1.     Applicable Law and Jurisdiction.     This Note shall be governed by and interpreted
according to the laws of the State of Michigan, without giving effect to principles of contlict of laws.
Borrower irrevocably agrees and consents that any action against Borrower for collection or enforcement
of this Note may be brought in any state or federal court within the State of Michigan that has subject
matter jurisdiction and where venue is in compliance with Michigan law.

         12.      Partial Invalidity. The invalidity or unenforceability of any provision of this Note shall
not affect the validity or enforceability ofthe remaining provisions of this Note.

      13.   Waiver of Jury Trial. BORROWER AND ART VAN ACKNOWLEDGE THAT THE
RIGHT TO TRIAL BY JURY IS A CONSTITUTIONAL ONE, BUT THAT IT MAYBE WAIVED.
EACH PARTY, AFTER CONSULTING (OR HAVING HAD THE OPPORTUNITY TO CONSULT)
WITH COUNSEL OF THEIR CHOICE, KNOWINGLY AND VOLUNTARILY, AND FOR THEIR
MUTUAL BENEFIT. WAIVES ANY RIGHT TO TRIAL BY JURY IN THE EVENT OF LITIGATION

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 REGARDING THE PERFORMANCE OR ENFORCEMENT OF, OR IN ANY WAY RELATED TO
 THIS NOTE, THE LOAN DOCUMENTS EXECUTED IN CONNECTION HEREWITH OR THE
 INDEBTEDNESS.

          14.     Entire Agreement.      Borrower acknowledges and confirms that this Note and the
 documents referred to herein constitute the entire agreement between Borrower and Art Van, and that
 there are no conditions or understanding between the parties that are not expressed therein.

          15.    Severability.    The declaration of invalidity or unenforceability of any provision of this
 Note or the documents referred to herein shall not affect the validity or enforceability of the remaining
 provisions of any of the foregoing.

                  16.             Joint and Several Liability. If Borrower is more than one person, firm or corporation,
(a) each of them is primarily liable on this Note, (b) receipt of value by anyone of them constitutes
receipt of value by both or all of them, (c) their liability on this Note is joint and several, and (d) the term
"Borrower" means each of them and all of them.

          17.     Release of Claims against Art Van. In consideration of Art Van's agreeing to the terms
of this Note, Borrower waives, releases and affirmatively agrees not to allege or otherwise pursue any and
all defenses, affirmative defenses, counterclaims, claims, causes of action, setoffs or other rights that it
may have, or claim to have for any and all claims, harm, injury and damage of any and every kind, known
or unknown, legal or equitable, which Borrower has, or may claim to have, against Art Van, its directors,
officers, employees, attorneys, affiliates and agents from the date of the Borrower's first contact with Art
Van up to the date of this Note.

                 This Promissory Note (Term Loan) is executed as of the date first above written.

                                                                                                 Borrower:

                                                                                                 SIMPSON FURNITURE COMANY,




                                                                                                 By:   ----f--M-\;U7+f-----t-f4lnme~~~-
                                                                                                       Its: President and Chief Executive Officer




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